Case 1:19-cr-10082-DPW Document 37 Filed 02/28/20 Page1of1

AQ 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of Massachusetts

 

United States of America c
Vv. ) a ee)
Xiaoning SUI ) Case No, 19-CR-10082-DPW =
) mm
: :
_ a ) “:
Defendant J
rS
ARREST WARRANT =
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

 

(name of person to be arrested) — Xiaoning SUI

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment iw Superseding Indictment 1 Information © Superseding Information O Complaint

1 Probation Violation Petition O Supervised Release Violation Petition O Violation Notice © Order of the Court
This offense is briefly described as follows:
18 USE371 - conspiracy to commit wire fraud, honest services wire fraud, and federal programs bribery

18 USC-1956(a)(2)(A) < international money laundering
18 USC-1343, 1346 - wire'fraud and honest services wire fraud

  

Date: 09/24/2019

      
 

No COE
S .° t Wao aie K
LAVAS

City and state: | Boston, MA

 

Return

 

This warrant was received on (date) - _ , and the person was arrested on (date) —

at (cityand state) aaa ays f

 

in I
/

Date: RY | EST/ARR, i. Tae _
7 . WNT GOIN & | Qh. pose Arresting officer's signature

 

 

Printed name and title

 

 

 
